Case 2:22-mj-00300-DUTY Document1 Filed 01/24/22 Pagelof27 Page ID#:1

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AO91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20) C1] Original (1 Duplicate Original

 

UNITED STATES DISTRICT COURT

 

for the LODGED

CLERK, U.S. DISTRICT COURT

1/24/2022

CENTRAL DISTRICT OF CALIFORNIA
BY: b DEPUTY

 

Central District of California

 

 

United States of America

 

 

 

Vv.

 

ABHIMANYU BATRA Case No. :
, 2:22-mj- -d
a.k.a. Abhi Batra, 2-mj 00300- uty

 

    
   
 

FILED
Defendant CLERK, U.S. DISTRICT COURT

 

 

AN 2.4 9099
CRIMINAL COMPLAINT BY TELEPHONE

As described in the accompanying attachment, defendant violated the following statutes:
Code Section Offense Description
18 U.S.C. § 1344) Bank Fraud
This criminal complaint is based on these facts:
Please see attached affidavit.

Continued on the attached sheet.

/s Kyle Schitfz

Complainant's signature

 

Kyle Schultz, Special Agent

Printed name and title

 

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: . 4 VESTA 2o2r27 Qa. f

C7 r Judge eignature

City and state: Los Angeles, California Hon. Jacqueline Chooljian, U.S. Magistrate Judge
Printed name and title

 

 

AUSA Andrew Brown, 11th Floor, x0102
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Complaint Attachment

18 U.S.C. § 134422

Beginning in 2016, and continuing through April, 2020, in Los Angeles County, within the
Central District of California, and elsewhere, defendant ABHIMANYU BATRA, also known as Abhi
Batra, knowingly and with intent to defraud, executed and attempted to execute a scheme to obtain
monies and funds owned by and in the custody and control of Citibank, Capital One, Bank of America,
and Wells Fargo Bank, federally insured financial institutions, by means of material false and fraudulent
pretenses, representations, and promises, and the concealment of material facts. To execute the
fraudulent scheme, defendant BATRA opened a series of bank and brokerage accounts, often using the
identifying information of friends and family members without their knowledge or authorization.
Defendant BATRA transferred funds from the bank accounts to the brokerage accounts, where he used
them for speculative trading. When defendant BATRA sustained trading losses, he contacted the banks
from which he had transferred the trading funds and falsely claimed not to have authorized the transfers,
and demanded that the banks reverse them. The brokerage firms sustained actual losses of at least
$665,211 from these bogus reversals. Specifically, on December 10, 2019, defendant BATRA, acting
with the intent to defraud, called Citibank and falsely claimed $40,000 was fraudulently transferred from
his bank account into a brokerage account of someone he did not know in order to get Citibank to
reverse the transfer, which it did.
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AFFIDAVIT
T, Kyle Schultz, being duly sworn, declare and state as follows:
I. INTRODUCTION

1. I am a Special Agent with the Federal Bureau of
Investigation (“FBI”) and have been so employed since September
2019. I am presently assigned to the Los Angeles Field Office. I
am assigned to the Corporate and Securities Fraud Squad and have
been so assigned since approximately February 2020. The
Corporate and Securities Fraud Squad is responsible for
investigating white-collar crimes such as corporate fraud and
securities fraud, including insider trading, market
manipulation, embezzlement, and investment fraud schemes. I have
led and/or participated in white-collar fraud investigations and
have also participated in the execution of arrest and search
warrants related to multiple fraud investigations. I have
received training in federal criminal statutes related to
financial crimes and conducting investigations involving
financial crimes. Prior to entering the FBI, I was a licensed
attorney in Washington, D.C. I have four years of training and
experience in various areas of the law, including criminal
procedure, corporate governance, federal securities law, and
homeland security law. I also have experience developing federal
regulatory policy related to United States commodity and futures
markets.

II. PURPOSE OF AFFIDAVIT: BANK FRAUD COMPLAINT
2. I make this affidavit in support of a complaint and

arrest warrant for ABHI BATRA (“BATRA”) for violation of Title
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18, United States Code, Section 1344(2), Bank Fraud.

3. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, financial
records and analysis, and information obtained from various law
enforcement personnel and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the
requested warrant and does not purport to set forth all of my
knowledge of or investigation into this matter. Unless
specifically indicated otherwise, all conversations and
statements described in this affidavit are related in substance
and in part only.

IIIT. THE EARLIER SEARCH WARRANTS TARGETING BATRA

 

4A, On January 11, 2021, the Honorable United States
Magistrate Judge John McDermott issued a search warrant for 1350
South Roxbury Drive, Apartment 202, Los Angeles, California
90035 (“BATRA’s APARTMENT”) based on the attached affidavit,
which is incorporated by reference. On January 15, 2021,
Special Agents of the Federal Bureau of Investigation (“the
Search Team”) executed that search warrant, but BATRA was not
home at that time.

5. The Search Team found evidence at BATRA’S APARTMENT
indicating BATRA was engaged in a scheme to defraud various

banks and brokerage firms, including:
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a. Four Employment Development Department VISA debit
cards in the names of Abhimanyu Batra, Poonam Batra, Harivansh
Batra, and Mehru Bhatia;

b. One Chase VISA debit card in the name of Jamile
Mavaly;

Gs One Capital One Mastercard debit card in the name
of Poonam Batra;

d. Financial Industry Regulatory Authority (“FINRA”)
correspondence detailing arbitration proceedings between
Tastyworks, an online brokerage firm, and Miranda Casillas
(“Casillas”), a suspected identity theft victim in BATRA’s fraud
scheme, related to a $28,149.17 debt owed on a Tastyworks
brokerage account ending in 3010 that Tastyworks records show
was opened on March 3, 2019 in CASILLAS’s name using an email

address belonging to BATRA, cannabis.supreme@gmail.com;

 

 

e. Documents sent from Navient, an educational loan
management company, requesting BATRA provide additional
information to verify a claim BATRA filed on November 16, 2019
stating BATRA was a victim of student loan identity fraud;

fs One Apple iPad, with reports visible on the home
screen indicating the iPad was used to conduct online trading
and monitor stock market activity; and

Gg. A handwritten ledger signed by BATRA and Ksenia
Pasochnik, a suspected identity theft victim in BATRA’s fraud
scheme, indicating BATRA had paid Pasochnik $3,000 owed on a
$20,000 debt.

6. On January 21, 2021, the Honorable United States
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Magistrate Judge Alka Sagar issued two follow up search warrants
for BATRA’s person and BATRA’s vehicle, a 2020 Landrover sport
utility vehicle. On February 2, 2021, FBI Special Agents
executed those search warrants.

BATRA Confessed to Defrauding Investors and Banks

7. Prior to serving the search warrants on BATRA, FBI
Special Agent (“SA”) Kyle Schultz interviewed BATRA. The
interview was recorded. During the interview, BATRA confessed,
as described in part below:

a. BATRA registered brokerage and bank accounts in
BATRA’s name to conduct speculative options trading at various
online trading platforms. BATRA funded his online trading
activity with personal funds or funds obtained from friends and
family.

b. After suffering trading losses, BATRA recalled
the original automated clearing house (“ACH”) bank transfers to
brokerages and claimed he was a victim of fraud and had not
actually authorized the transfers, thereby causing financial
losses to the victim brokerages.

Cc. BATRA misappropriated personal identifying
information (“PII”) from acquaintances and family members and,
without their knowledge or authority, used the misappropriated
PTI to open brokerage and bank accounts and conceal the true
extent of BATRA’s fraudulent trading scheme.

BATRA Disappeared During Plea Negotiations
8. According to immigration records, BATRA is a permanent

resident alien and so could lose his residency in the U.S. and
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face deportation pursuant to 8 U.S.C. § 1227(a) (2) (A) (iii) if
convicted of an “aggravated” felony under immigration law. I
reviewed an email from BATRA’s criminal defense counsel dated
January 19, 2022, in which he states that neither he nor BATRA’s
immigration counsel can reach BATRA, and that BATRA’s telephone
has been disconnected. Based on my discussions with AUSA Andrew
Brown, I know this occurred after he had been unable to secure
authorization from his office for charges against BATRA that
would have left the question of whether BATRA’s conviction was
“aggravated” contingent on the sentence he received, and thus
would have left BATRA with at least a possibility of remaining
in the U.S. (8 U.S.C. § 1101 (a) (43) (G): theft offenses are
aggravated if the sentence imposed is at least one year). Thus
it appears that BATRA disconnected his telephone and stopped
communicating with his counsel after he learned that he would
face deportation regardless of his sentence. (8 U.S.C. §
1101 (a) (43) (M) (1): fraud offenses for which the loss exceeds
$10,000 are aggravated).
IV. CONCLUSION
9. Based on the foregoing facts, there is probable cause

to believe that ABHI BATRA committed bank fraud.
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Attested to by the applicant in accordance
with the requirements of Fed. R. Crim. P. 4.1

by telephone on this 27—day of January,
2022,

aoe STATES NAGISTRRGY JUDGE
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30 Page ID #:66

AFFIDAVIT
I, Kyle Schultz, being duly sworn, declare and state as follows:
I. INTRODUCTION

Ls I am a Special Agent with the Federal Bureau of
Investigation (“FBI”) and have been so employed since September 2019.
I am presently assigned to the Los Angeles Field Office. I am
assigned to the Corporate and Securities Fraud Squad and have been so
assigned since approximately February 2020. The Corporate and
Securities Fraud Squad is responsible for investigating white-collar
crimes such as corporate fraud and securities fraud, including
insider trading, market manipulation, embezzlement, and investment
fraud schemes. I have led and/or participated in several white-collar
fraud investigations and have also participated in the execution of
arrest and search warrants related to multiple fraud investigations.
I have received training in federal criminal statutes related to
financial crimes and conducting investigations involving financial
crimes. Prior to entering the FBI, I was a licensed attorney in
Washington, D.C. I have four years of training and experience in
various areas of the law, including criminal procedure, corporate
governance, federal securities law, and homeland security law. I also
have experience developing federal regulatory policy related to
United States commodity and futures markets.

II. PURPOSE OF AFFIDAVIT

Z I make this affidavit in support of an application for a
search warrant for 1350 ROXBURY DRIVE, APARTMENT 202, LOS ANGELES,
CALIFORNIA 90035 ("BATRA’S APARTMENT"), described in Attachment A,
for the items described in Attachment B, both of which are

incorporated by reference.

 

 
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Ses As described more fully below, I respectfully submit that
there is probable cause to believe that evidence, fruits and
instrumentalities of criminal violations of Title 18, United States
Code, Sections 1343 (wire fraud), 1028A (aggravated identity theft),
and 1956 (money laundering) (collectively, the “SUBJECT OFFENSES”)
will be found in BATRA’S APARTMENT.

4. The facts set forth in this affidavit are based upon my
personal observations, my training and experience, and information
obtained from various law enforcement personnel and witnesses. This
affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not purport to set
forth all of my knowledge of or investigation into this matter.
Unless specifically indicated otherwise, all conversations and
statements described in this affidavit are related in substance and
in part only.

IIIT. SUMMARY OF PROBABLE CAUSE

Bw Between 2016 and 2020, ABHI BATRA orchestrated a fraud
scheme in which BATRA opened brokerage accounts in his name, as well
as in the names of acquaintances and family members, to conduct
speculative options trading. BATRA used ACH transfers from personal
bank accounts to fund these brokerage accounts. When BATRA profited
from trading activities, he withdrew the profits into his personal
bank accounts. When BATRA lost money trading, he recalled the
original ACH transfers and claimed he was a victim of fraud and had
not actually authorized the transfers. While engaged in his fraud
scheme, BATRA lived in and conducted online options trading from
BATRA’S APARTMENT. BATRA also used BATRA’S APARTMENT as the mailing
address for bank accounts created to further BATRA’s fraud scheme.

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IV. STATEMENT OF PROBABLE CAUSE

 

A. Batra First Carried Out the Fraud in His Own Name

6. BATRA carried out his fraud scheme with brokerage accounts
registered in BATRA’s name. For example, Tradestation, an online
brokerage firm, provided records for an account ending in 8070
registered to “Abhi Batra” (the “BATRA Tradestation account”). The
BATRA Tradestation account listed 405 Rockefeller, Apartment 605,
Irvine, California 92612 as BATRA’s address. A database check and
documents provided by the SEC confirmed BATRA lived at this address
before moving to BATRA’S APARTMENT.

Te Tradestation account records show $50,000 was deposited in
the BATRA Tradestation account in August 2018 to conduct speculative
options trading. Bank of America records confirm this deposit
originated from a Bank of America checking account controlled by
BATRA. Tradestation records also show that in August 2018, the BATRA
Tradestation account suffered trading losses of $32,109.94. Following
these losses, $30,000 was withdrawn from the BATRA Tradestation
account via an ACH reversal, leaving the BATRA Tradestation account
with a negative balance of $20,146.67. At this time, all trading
activity ceased in the BATRA Tradestation account.

8. According to Bank of America records, the $30,000 was
recalled from the BATRA Tradestation account to the same Bank of
America checking account BATRA used to deposit the funds. Bank of
America also provided a fraud report in which BATRA claimed his Bank
of America account was compromised, and requested Bank of America
reverse the funds from the BATRA Tradestation account because BATRA
was a victim of fraudulent ACH transfers. In December 2018,
Tradestation was forced to write-off the negative balance in the

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BATRA Tradestation account due to Bank of America classifying the
August 2018 deposits as fraudulent transactions.

9. OptionsXpress, another online brokerage firm, also provided
records for an account registered to “Mr. Abhi Batra” ending in 2063
(the “BATRA OptionsXpress account”). The BATRA OptionsXpress account
listed 405 Rockefeller, Apartment 605, Irvine, California 92612 as
BATRA’s address and was opened using BATRA’s Social Security account
number, date of birth, phone number, and the email address
abhibatrall@gmail.com.

10. OptionsXpress account records show $30,000 was deposited in
the BATRA OptionsXpress account between June 20, 2017 and August 18,
2017. Citibank records confirm this deposit originated from a
Citibank checking account controlled by BATRA. Between June and
September 2017, profitable trading activity followed by several ACH
withdrawals of those profits left the BATRA OptionsXpress account
with a balance of $602.68. On September 14, 2017 $23,000 was recalled
from the BATRA OptionsXpress account via an ACH reversal, resulting
in a negative balance of $22,479.44 in the BATRA OptionsXpress
account. At this time, all trading activity ceased in the BATRA
OptionsXpress account.

11. According to Citibank records, the $23,000 was recalled
from the BATRA OptionsXpress account to the same Citibank checking
account BATRA used to deposit the initial $30,000. Citibank records
show BATRA claimed he was a victim of fraudulent ACH transfers and
requested Citibank reverse the funds from the BATRA OptionsXpress
account. In October 2017, OptionsXpress was forced to write-off the
negative balance in the BATRA OptionsXpress account due to Citibank
classifying the deposits as fraudulent ACH transactions.

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12. I received similar reports regarding BATRA reversing ACH
charges after claiming he was a victim of fraud involving the
following brokerage firms from 2017 through 2020: Ally Investments,
January 2017 - December 2019; OptionsHouse, June 2016 - August 2017;
Charles Schwab, October 2017 - February 2018; E-Trade Securities,
August 2017 - October 2018; Fidelity Brokerage Services, November
2017 - January 2019; Interactive Brokers, September 2017 - March
2018; Tastyworks, May 2018 - August 2018; TD Ameritrade, February
2018 - February 2019; Tradestation, July 2018 - January 2019; and
Robinhood, October 2019 —- April 2020.

B. Batra Continued the Fraud Using Other Persons’ Identities

Ls In addition to conducting trading and fraudulent ACH
reversals in his own name, BATRA misappropriated personal identifying
information (“PII”) from acquaintances and family members to open
brokerage and bank accounts and conceal the true extent of BATRA’s
fraud scheme.

2% For example, on August 3, 2020, lawyers from the SEC took
the deposition testimony of Jonathan Melo, an acquaintance of BATRA.
Melo testified that on April 19, 2017, Melo opened an account at
Robinhood, an online brokerage firm, in order to invest business
earnings in the stock market. Melo also testified that in 2018, Melo
asked BATRA to teach Melo how to invest in the stock market.

a. Text message records provided by Melo show that on
March 25, 2019, BATRA asked Melo to provide his PII so BATRA could
access Melo’s Robinhood brokerage account and make trades for Melo.
BATRA sent this text message from the phone number 310-666-4284.
Documents and records obtained during my investigation identify this
phone number as belonging to BATRA. Melo texted BATRA his date of

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birth, Social Security account number, and address. Melo also sent
BATRA a picture of Melo’s driver’s license.

bu On April 2, 2019, shortly after Melo provided his PII
to BATRA, changes were made to Melo’s Robinhood account. The phone
number Melo originally used to register the Robinhood account was
changed to BATRA’s 310-666-4284 phone number. Melo’s email address
was removed from the account and changed to
ab.supreme.investll@gmail.com. Melo’s address was also removed from
the account and replaced with BATRA’S APARTMENT address.

Gs On June 7, 2019, Melo’s Robinhood account information
was again altered. BATRA’S APARTMENT address was changed to reflect a
fake address in Pasadena, a new phone number was added, and the email
address was changed. Melo testified he did not make these changes.
Based on my training and experience, and my knowledge of criminal
fraud schemes, the June 7, 2019 account changes were likely BATRA’s
attempt to conceal the fact that BATRA took control of the Melo
Robinhood account.

da. Financial records obtained during the course of my
investigation also show BATRA opened a number of bank accounts using
Melo’s PII, then used these bank accounts to transfer money between
brokerage accounts. For example, on April 2, 2019, $15,000 was
deposited into the Melo Robinhood account from a Capital One checking
account ending in 5767 (the “5767 account”). Then on May 10, 2019,
$30,000 was withdrawn from the Melo Robinhood account into the 5767
account. Capital One account summary records show the 5767 account
was opened in Melo’s name using Melo’s personal information. Melo
testified he did not open the 5767 account or have any knowledge of
the account being opened in his name. Capital One provided the 5767

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account summary, which listed BATRA’S APARTMENT as the mailing
address. Thus, Capital One would have mailed BATRA’s account
statements to BATRA’S APARTMENT.

Sa On June 12, 2019, a TD Ameritrade brokerage account ending
in 0163 was opened in Melo’s name (the “0163 account”). Account
summary documents provided by TD Ameritrade show the 0163 account was
opened using Melo’s name, date of birth, and Social Security number.
The phone number used to open the 0163 account was BATRA’s 310-666-
4284 number, and the email address used was
supreme.investments1l1l@gmail.com. Melo testified he did not open or
authorize the opening of the 0163 account. Thus it appears that BATRA
used the PII he requested from Melo in March 2019 to open the 0163
account.

4. There were a number of ACH deposits and reversals involving
the 0163 account. For example, on June 12, 2019, $50,000 was
deposited in the 0163 account. On June 20, 2019, the $50,000 was
recalled from the 0163 account. Melo testified that he did not
authorize the deposit or recall of this money. Tradestation account
summary documents show the account was opened using Melo’s date of
birth and Social Security number. However, the telephone number
linked to the 5372 account was BATRA’s 310-666-4284 phone number, and
the email address linked to the account was the same

supreme.investments11@gmail.com address used to open the TD

 

 

Ameritrade 0163 account.

5. A Tradestation Securities account (the “5372 account”) was
also opened in Melo’s name. Tradestation account summary documents
show the account was opened using Melo’s date of birth and Social
Security number. However, the telephone number linked to the 5372

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account was BATRA’s 310-666-4284 phone number, and the email address
linked to the account was the same supreme.investments1l1@gmail.com
address used to open the TD Ameritrade 0163 account. Melo testified

he did not open or authorize anyone else to open a Tradestation

 

 

account in his name.

6. According to Tradestation account statements, the 5372
account was used to conduct a number of options trades. For example,
Tradestation records show options trading occurring from July 10 to
July 30, 2019. Melo testified that he did not make nor have any
knowledge of these trades. Tradestation account records also show a
number of ACH deposits and withdrawals made from July through
December 2019. Melo testified he had no knowledge of these deposits
or withdrawals.

Ts Documents produced by Tradestation reveal two denied ACH
requests made on July 2, 2019 and December 12, 2019. The bank
accounts linked to the ACH requests were two Citibank checking
accounts with the account titles “ABHI BATRA & Jonathan Melo” and
“ABHI BATRA.” Melo testified he never opened a Citibank checking
account or held a joint checking account with BATRA.

8 a On July 2, 2019, a First Trade brokerage account ending in
2302 (the “2302 account”) was opened in Melo’s name. First Trade
account summary documents show the 2302 account was opened using
Melo’s mailing address, date of birth, Social Security number, and an
image of Melo’s driver’s license. The email address linked to the
2302 account was once again the supreme.investmentsll@gmail.com email
address used to open the TD Ameritrade 0163 and Tradestation 5372
accounts. Melo testified he never opened or authorized anyone to open
a First Trade account in his name.

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oe According to First Trade account statements, the 2302
account was used to conduct options trading. Melo testified that he
did not place these trades. First Trade account records also show a
number of ACH transactions involving the 2302 account. For example,
in December 2019, an ACH deposit of $10,000 and two ACH reversals
totaling $40,000 occurred in the 2302 account. Melo testified that he
did not order these ACH transactions.

10. First Trade also produced documents showing a Citibank
checking account ending in 1557 (the “1557 account”) was linked to
the 2302 account. Citibank records show BATRA is listed as the owner
of the 1557 account, but that the account title is “Jonathan Melo.”
The 1557 account was registered to a fake address and listed the same
supreme.investmentsl1l@gmail.com email address used to open the TD

Ameritrade 0163 and Tradestation 5372 accounts. Melo testified that

 

 

he never held any accounts with Citibank.

1d. In a July 2, 2019 email to First Trade, an individual
claiming to be Melo used the supreme.investments11@gmail.com address
to provide a fraudulent Citibank account statement to First Trade and
requested First Trade authorize ACH transactions between the 2302
account and the Citibank 1557 account. Melo testified he did not send
this email.

12. Melo was not the only person that BATRA used to further his
fraud scheme. For example, on March 5, 2020, lawyers from the SEC
took the deposition testimony of Ksenia Pasochnik, BATRA’s former
roommate.

13. A TD Ameritrade account summary shows an account ending in
0882 (the “0882 account”) was opened in Pasochnik’s name in October
2018. SEC financial analysis lists the 0882 account as a trading

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account BATRA used to further his fraud scheme. Pasochnik testified
she knew BATRA opened the 0882 account in her name, but Pasochnik did
not complete or review the account application. The 0882 account
application contained Pasochnik’s signature, but Pasochnik testified
she did not remember signing the application. The 0882 account was
opened using BATRA’S APARTMENT address and the email address
cannabissupreme@gmail.com. Pasochnik testified this email address
belonged to BATRA.

14. In her testimony, Pasochnik said she gave BATRA permission

 

 

to access the 0882 account to make trades. Pasochnik stated she
discussed trading strategies with BATRA, but BATRA was the one who
ultimately made the trades. TD Ameritrade account records show money
was transferred to the 0882 account between October and December
2018. Profitable trading activity followed, leading to an ending
account balance of $81,226.09.

15. TD Ameritrade account records also show between October and
December 2018, approximately $72,000 was withdrawn from the 0882
account. Pasochnik testified she did not make these withdrawals or
receive any of the profits from the 0882 account. Pasochnik stated
BATRA had access to the 0882 account and likely withdrew the $72,000
to his personal bank account. TD Ameritrade records indicate all
trading activity ceased in the 0882 account after December 2018.

16. Tastyworks, an online brokerage firm, provided records
showing that in June 2018, $18,000 was deposited in a Tastyworks
account opened in Pasochnik’s name (the “0510 account”). SEC
financial analysis lists the 0510 account as a brokerage account
BATRA used to further his fraud scheme. Pasochnik testified BATRA
helped her open the 0510 account and had access to the account.

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17. Tastyworks account records showed options trading occurred
in the 0510 account in June 2018. Pasochnik testified she did not
remember making the trades. 0510 account records also show that in
June 2018, $25,000 was withdrawn from the account. Pasochnik
testified she did not withdraw the funds or receive any of the money.
Pasochnik also stated BATRA was the only other person with access to
the 0510 account.

18. Tastyworks account records also show that in July 2018, the
0510 account suffered trading losses of $20,000. Following these
trading losses, four ACH reversals totaling $23,000 were made from
the 0510 account. Bank of America account records show the ACH
transactions were recalled to Pasochnik’s Bank of America account.
Pasochnik testified she did not order the reversals or know about the
$23,000 in her account. Pasochnik also testified BATRA knew her Bank
of America account number and login information and was the only
other person who could access the account.

19. Bank of America records show Pasochnik’s checking account
was also used to transfer money between Interactive Brokers, Lime,
and Firstrade brokerage accounts. Pasochnik testified she never
opened an account with Interactive Brokers, Lime, or Firstrade.
Records provided by Firstrade show an account was opened in
Pasochnik’s name using her Social Security number and driver’s
license, copies of which were sent from the email address
pbhatra0923@gmail.com. Pasochnik testified BATRA used this email
address, and only BATRA had copies of Pasochnik’s Social Security
card and driver’s license.

20. In addition to Melo and Pasochnik, BATRA opened and
controlled brokerage and bank accounts in the names of at least six

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other individuals to conceal BATRA’s identity from authorities and
further his fraud scheme. SEC analysts prepared a spreadsheet of the
accounts BATRA controlled, which were held in his own name and the
names of Jonathan Melo, John Melo, Jon Melo, Ksenia Pasochnik,
Harivansh Batra, Poonam Baatra, Miranda Casillas, and Priyanka
Khanna. The accounts were opened at the following brokerages: Ally,
OptionsHouse, Lime, Charles Schwab, E-Trade Securities, Fidelity
Brokerage Services, Firstrade, Zacks Trade, Interactive Brokers,
Robinhood, Tastyworks, TD Ameritrade, Tradestation, and
OptionsXpress. BATRA opened bank accounts at Bank of America, Capital
One, Citibank, and Wells Fargo. Business records show that the email
addresses used with these accounts include

ab.supreme.investil@gmail.com, supreme.invest11@gmail.com,

 

phatra0923@gmail.com, abhibatrall@gmail.com, abhinstrix@gmail.com,

 

cannabissupreme@gmail.com, and hbrubberinc@gmail.com.

 

 

Cc. Batra Fraudulently Recalled ACH Transfers after Suffering
Trading Losses

21. In the course of my investigation, I learned that BATRA
frequently reversed ACH transfers to brokerage firms after suffering
trading losses by claiming he was the victim of fraud. SEC
investigators and lawyers provided me with recorded calls made to
financial institutions claiming that ACH transfers were fraudulent
and should be reversed. In many calls, the caller identified himself
as “Abhi Batra.” The voice in these “Abhi Batra” calls sounds
identical to the voice in an August 8, 2019 recorded phone call in
which a person claiming to be Melo requested Tradestation remove
trading limitations on daily loss limits for the Melo 5372 account.

Melo testified he was not the caller on this recorded phone call and

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that he recognized the voice as belonging to BATRA. The voice in the
“Abhi Batra” calls also sounds identical to the voice of a person
claiming to be Poonam Batra (BATRA’s mother) in calls to financial
institutions.

22. On June 7, 2019, BATRA contacted Capital One using his true
name to report fraudulent ACH transactions from the Capital One 5767
account. The 5767 account is the same checking account linked to the
Melo Robinhood, TD Ameritrade 0163, and Tradestation 5372 brokerage
accounts. BATRA used BATRA’S APARTMENT address to verify his
identity. BATRA claimed his Robinhood brokerage account was hacked,
and the existing ACH link used to conduct $84,748.19 in fraudulent
ACH transfers from the 5767 account in April and May 2019. ACH
transfer records provided by Robinhood show that the reversals BATRA
requested were withdrawn from the Melo Robinhood account. These ACH
reversals followed trading losses of approximately $113,758.74 in the
Melo Robinhood account.

23. On December 10, 2019, BATRA called Citibank to file another
fraud claim. BATRA verified his identity with BATRA’S APARTMENT
address and his phone number, 310-666-4284. BATRA claimed $40,000 was
fraudulently transferred to the Melo First Trade 2302 account in
December 2019 from BATRA’s Citibank account. BATRA stated he did not
know Melo and did not authorize First Trade to transfer the money

from BATRA’s Citbank account. The ACH reversal followed trading

 

 

losses of approximately $39,000 in the First Trade 2302 account.
D. Summary of Batra’s Trading Activity

24. I have personally reviewed brokerage statements, bank
records, and SEC financial analysis. Based on my review of these
documents and discussions with SEC attorneys and investigators, BATRA

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sustained approximately $556,992.91 in trading losses during the life
of his fraud scheme, including under other persons’ identities. BATRA
reversed approximately $1,134,548.00 in ACH transfers made to various
brokerage firms, causing approximately $665,211.10 in damages to
these brokerage firms. At the same time, BATRA made approximately
$98,478.00 in profits. As a result of BATRA’s fraud, BATRA caused
approximately $765,000 in total financial losses due to BATRA’s
illicit profits and brokerage firm losses.

BATRA Resides at BATRA’S APARTMENT

25. Based on my investigation, there is probable cause to
believe evidence of BATRA’s fraud is present at BATRA’S APARTMENT for
the following reasons:

26. BATRA wrote rent checks to 1350 ROXBURY LLC that listed
BATRA’S APARTMENT as BATRA’s address. These checks were paid during
the course of BATRA’s fraud scheme and indicate BATRA resided at
BATRA’S APARTMENT while conducting online trading.

a. On October 14, 2020, the SEC served a Wells Letter on
BATRA at BATRA’S APARTMENT, notifying BATRA of a potential SEC
enforcement action against him. In a response letter, BATRA indicated
he received this letter in the mail and wanted to negotiate a
settlement. This, in addition to database checks conducted during the
course of my investigation, indicate that BATRA still resides at
BATRA’S APARTMENT.

b. Bank records indicate BATRA received account
statements related to BATRA’s fraudulent activities at BATRA’S
APARTMENT. For example, Capital One provided an account summary for
the 5767 account linked to BATRA’s fraudulent ACH transactions. The

account summary lists BATRA’S APARTMENT as BATRA’s mailing address.

 

 

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Thus, there is probable cause to believe BATRA maintains records of
illicit bank transactions at BATRA’S APARTMENT.

Cs BATRA used specific Internet Protocol (“IP”) addresses
to conduct trading related to his fraud scheme. According to records
subpoenaed from BATRA’s Internet service provider, Charter
Communications, several of these IP addresses resolved to BATRA’S
APARTMENT as recently as January 14, 2020. BATRA frequently used one
such IP address resolving to BATRA’S APARTMENT, 172.248.35.224, to
conduct fraudulent online trading and bank transactions. This
indicates records of BATRA’s trading activity and the digital devices
BATRA used to further his fraud scheme are located at BATRA’S
APARTMENT.

d. On December 15, 2020, U.S. Postal Service (USPS)
Inspector and FBI Task Force Officer (TFO) Jeff Hedrick contacted the
postal carrier responsible for delivering mail to BATRA’S APARTMENT.
Through mail delivery records and his conversation with the postal
carrier, TFO Hedrick was able to confirm that BATRA continued to
receive mail at the BATRA’S APARTMENT.

Vv. TRAINING AND EXPERIENCE ON FRAUD OFFENSES

27. Based on my training and experience, and that of others in
law enforcement who have decades of experience, individuals engaged
in complicated financial schemes must keep records of those schemes
just to execute them. This is even more true when the criminal uses
multiple identities and therefore must also keep track of which name
and other identifying information corresponds to which account.
Typically they keep these records close at hand and where they
believe they are safe, most commonly in their homes. Nowadays, the
records are usually digital and stored on computers and smartphones,

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and other digital devices. In my training and experience, persons
typically keep their smartphones where they are, typically their
homes, places of work, and cars.

VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

 

28. Based on my training, experience, and information from
those involved in the forensic examination of digital devices, the
following electronic evidence, inter alia, is often retrievable from
digital devices:

a. Forensic methods may uncover electronic files or
remnants of such files months or even years after the files have been
downloaded, deleted, or viewed via the Internet. Normally, when a
person deletes a file on a computer, the data contained in the file
does not disappear; rather, the data remain on the hard drive until
overwritten by new data, which may only occur after a long period of
time. Similarly, files viewed on the Internet are often automatically
downloaded into a temporary directory or cache that are only
overwritten as they are replaced with more recently downloaded or
viewed content and may also be recoverable months or years later.

b. Digital devices often contain electronic evidence
related to a crime, the device's user, or the existence of evidence
in other locations, such as, how the device has been used, what it
has been used for, who has used it, and who has been responsible for
creating or maintaining records, documents, programs, applications,
and materials on the device. That evidence is often stored in logs
and other artifacts that are not kept in places where the user stores
files, and in places where the user may be unaware of them. For
example, recoverable data can include evidence of deleted or edited
files; recently used tasks and processes; online nicknames and

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passwords in the form of configuration data stored by browser, e-
mail, and chat programs; attachment of other devices; times the
device was in use; and file creation dates and sequence.

Cs The absence of data on a digital device may be
evidence of how the device was used, what it was used for, and who
used it. For example, showing the absence of certain software on a
device may be necessary to rebut a claim that the device was being
controlled remotely by such software.

d. Digital device users can also attempt to conceal data
by using encryption, steganography, or by using misleading filenames
and extensions. Digital devices may also contain "booby traps" that
destroy or alter data if certain procedures are not scrupulously
followed. Law enforcement continuously develops and acquires new
methods of decryption, even for devices or data that cannot currently
be decrypted.

29. Based on my training, experience, and information from
those involved in the forensic examination of digital devices, I know
that it is not always possible to search devices for data during a
search of the premises for a number of reasons, including the
following:

a. Digital data are particularly vulnerable to
inadvertent or intentional modification or destruction. Thus, often a
controlled environment with specially trained personnel may be
necessary to maintain the integrity of and to conduct a complete and
accurate analysis of data on digital devices, which may take
substantial time, particularly as to the categories of electronic
evidence referenced above. Also, there are now so many types of
digital devices and programs that it is difficult to bring to a

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search site all of the specialized manuals, equipment, and personnel
that may be required.

b. Digital devices capable of storing multiple gigabytes
are now commonplace. As an example of the amount of data this equates
to, one gigabyte can store close to 19,000 average file size (300kb)
Word documents, or 614 photos with an average size of 1.5 MB.

30. The search warrant requests authorization to use the
biometric unlock features of a device, based on the following, which
I know from my training, experience, and review of publicly available
materials:

a. Users may enable a biometric unlock function on some
digital devices. To use this function, a user generally displays a
physical feature, such as a fingerprint, face, or eye, and the device
will automatically unlock if that physical feature matches one the
user has stored on the device. To unlock a device enabled with a
fingerprint unlock function, a user places one or more of the user's
fingers on a device's fingerprint scanner for approximately one
second. To unlock a device enabled with a facial, retina, or iris
recognition function, the user holds the device in front of the
user's face with the user's eyes open for approximately one second.

jem In some circumstances, a biometric unlock function
will not unlock a device even if enabled, such as when a device has
been restarted or inactive, has not been unlocked for a certain
period of time (often 48 hours or less), or after a certain number of
unsuccessful unlock attempts. Thus, the opportunity to use a
biometric unlock function even on an enabled device may exist for
only a short time. I do not know the passcodes of the devices likely
to be found in the search.

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Cs Thus, the warrant I am applying for would permit law
enforcement personnel to, with respect to any device that appears to
have a biometric sensor and falls within the scope of the warrant:

(1) depress BATRA's thumb and/or fingers on the device(s); and (2)

hold the device(s) in front of BATRA's face with his or her eyes open

to activate the facial-, iris-, and/or retina-recognition feature.
31. Other than what has been described herein, to my knowledge,

the United States has not attempted to obtain this data by other

means.
VII. CONCLUSION
32. For all the reasons described above, I request that the

Court issue the requested warrant. There is probable cause to believe
that evidence, contraband, fruits, or instrumentalities of the
SUBJECT OFFENSES, as described above and in Attachment B of this
affidavit, will be found in BATRA’S APARTMENT, as described in

Attachment A of this affidavit.

Attested to by the applicant in accordance
with the requirements of Fed. R. Crim. P, 4.1
by telephone on this 11th day of January,
2021.

‘ph EWeDeria i}

UNITED STATES MAGISTRATE JUDGE

 

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